                       UNITED STATES DISTRICT COURT

                       EASTERNDISTRICT OF TENNESSEE

                                 AT KNOXVILLE



  UNITED STATESOF AMERICA

        V.                             No. 3:17-cr-00082

  RANDALL KEITH BEANE, and

  HEATHER ANN TUCCI-JARRAF

                     MOTION FOR AN EXTENSION OF TIME

               WITHIN WHICH TO FILE POST-VERDICT MOTIONS



        The Defendant HEATHER ANN TUCCI-JARRAF moves for an
  extension of time under FRCrimP 45(b)(1} within which to file a motion
  for a new trial under FRCrimP 33, and a motion for a judgment       of
  acquittal under FRCrimP 29.

         IN SUPPORT of this motion, this Defendant states that additional
  time is needed for the preparation    of such post-conviction   motions and
   arguments in support of such motions, including for the obtaining of




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  trial transcripts. Counsel for this Defendant has been informed that at
  least 30 days will be needed for a trial transcript in this case.

                                      SIGNED:            ,ii!-~r   lf_ '$,.




                           CERTIFICATEOF SERVICE




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